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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                          Plaintiffs,                                     8:17CR21

        vs.
                                                                           ORDER
ALAN BUD WENTLING,

                          Defendant.


        This matter is before the court on defendant's MOTION TO EXTEND TIME TO FILE
PRETRIAL MOTIONS [88]. For good cause shown, I find that the motion should be granted. The
defendant will be given an approximate 21-day extension. Pretrial Motions shall be filed by June 12,
2017.


        IT IS ORDERED:
        1.         Defendant's MOTION TO EXTEND TIME TO FILE PRETRIAL MOTIONS [88] is
granted. Pretrial motions shall be filed on or before June 12, 2017.
        2.         The ends of justice have been served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. The additional time arising as a result of
the granting of the motion, i.e., the time between May 22, 2017 and June 12, 2017, shall be deemed
excludable time in any computation of time under the requirement of the Speedy Trial Act for the
reason defendant's counsel required additional time to adequately prepare the case, taking into
consideration due diligence of counsel, and the novelty and complexity of this case. The failure to
grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).
        3.         This is the FINAL extension of time to file Pretrial Motions. No further extensions
will be granted.


        Dated this 23rd day of May, 2017.

                                                         BY THE COURT:

                                                         s/ F.A. Gossett, III
                                                         United States Magistrate Judge
